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                            IN UNITEDSTATESDISTMCTCOURT
                           FORTHE SOUTHERNDISTMCTOF OHIO
                             WESTERN DWISION AT DAYTON


UNITED STATES OF AMERICA

                       Plaintiff,


               vs                                        Case No. 3:19-CR-40


DAMIAN L. JACKSON

                       Defendant.




                           ORDER TERMINATING SUPERVISED RELEASE




       On November 21, 2019, the above named was sentenced to a tenn of three (3) years of
Supervised Release after a period ofincarceration. OnNovember 30, 2022, the Defendant filed a
motion requesting tennination ofhis remaining unserved tenn ofSupervised Release (doc. 62).
       Based upon the position of the U. S. Probation Department and without objection by the
Government, Defendant's request (doc. 62) is GRANTED.           It is hereby ordered that the
Defendant Damian L. Jackson, be discharged from Supervised Release and the proceedings in
this case be tenninated.

       IT IS SO ORDERED.




Dated: December 2, 2022
                                                  Tho as .     ose. Judge
                                                  Uni ed States District Court
